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UNITED STATES DISTRICT COURT J S-6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07562-RGK Date October 19, 2021

 

 

Title In Re Vitaly Ivanovich Smagin

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order of Dismissal of Appeal as Moot

On October 8, 2021, the Court issued an order ordering Appellant Vitaly Ivanovich Smagin to
show cause as to why the instant appeal should not dismissed as moot. (ECF No. 25.) On October 13,
2021, Appellant responded, consenting to dismissal of the appeal. (ECF No. 26.)

Accordingly, the Court dismisses the action as moot.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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